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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK



IN RE: THE BANK OF NEW YORK               16-CV-00212-JPO-JLC
MELLON ADR FX LITIGATION
                                          CONSOLIDATED AMENDED
                                          CLASS ACTION COMPLAINT


                                          JURY TRIAL DEMANDED

                                          ECF Case


This Document Relates to:

ALL CASES
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       Plaintiffs Annie L. Normand, Don A. Carofano, David Feige, and International Union of

Operating Engineers Local 138 Pension Trust Fund (“Local 138”) (collectively, “Plaintiffs”),

individually and on behalf of all other persons similarly situated, by their undersigned attorneys,

allege the following against Defendant The Bank of New York Mellon (“BNYM” or the “Bank”)

based on information and belief and the investigation of counsel, except as to the allegations

pertaining specifically to Plaintiffs, which are based on personal knowledge.

I.     INTRODUCTION

       1.      This is an action for injunctive relief and to recover damages on behalf of

Plaintiffs and members of the proposed class defined below (collectively, the “Class”) for harm

suffered as a result of BNYM’s conversion during the Class Period (as defined below) into U.S.

Dollars (“USD”) of dividends or other cash distributions (“Cash Distributions”) by foreign

companies to holders of American Depositary Receipts (“ADRs”), a process referred to in this

Complaint as “ADR FX Conversions,” in a manner that breached BNYM’s contractual

obligations to beneficial owners or holders of those ADRs (“ADR Holders”).

       2.      This is not a fraud case. To be sure, BNYM did not disclose its improper actions,

and its failure to do so caused Plaintiffs and other Class members to remain unaware that the

Bank was breaching its contracts with them. But none of the claims asserted by Plaintiffs or the

Class turn on fraud or misrepresentation by the Bank.

       3.      ADRs are negotiable U.S. securities representing ownership of publicly traded

shares in a non-U.S. corporation. ADRs are purchased and sold in U.S. dollars (“USD”) and

provide ADR Holders the benefits of being able to invest in foreign companies without the

complexities and costs associated with direct ownership of foreign company shares. Further,
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ADRs are subject to the protections and many of the reporting requirements provided by U.S.

laws and regulations.

          4.      A depositary bank, like BNYM, is an institution that holds foreign securities and

issues ADRs to investors on behalf of a foreign company. Under the ADRs themselves and

agreements relating to them (the “ADR Agreements,” and with the ADRs, the “Contract

Documents”), BNYM holds shares issued by foreign companies on behalf of, and for the benefit

of, U.S. investors in the ADRs (i.e., ADR Holders), and is charged with converting Cash

Distributions received on any deposited securities into USD. BNYM holds itself out as “the

leading depositary bank, with a market share of 58%, for one main reason: we add value to

[Depositary Receipt issuers’] DR programs.”1

          5.      BNYM’s obligations to Plaintiffs and other Class members, as ADR Holders,

were set forth in the Contract Documents entered into between (i) the foreign company whose

shares were being deposited with BNYM for the purpose of creating ADRs representing

ownership of those shares, (ii) BNYM, and (iii) owners and beneficial owners (i.e., holders) of

the subject ADRs.         See, e.g., September 27, 1999 Deposit Agreement for Toyota Motor

Corporation (“Toyota Agreement”) (attached as Exh. 1 (with accompanying Exh. A)) at § 7.04;

March 28, 2003 Amended and Restated Deposit Agreement for HSBC Holdings PLC (“HSBC

Agreement”) (attached as Exh. 2 (with accompanying Exh. A)) at § 7.05; August 1, 2005

Amended and Restated Deposit Agreement for National Grid PLC (“2005 National Grid

Agreement”) (attached as Exh. 16 (with accompanying Exh. A)) at § 7.4; May 16, 2013

Amended and Restated Deposit Agreement for National Grid PLC (“2013 National Grid

Agreement”) (attached as Exh. 17 (with accompanying Exh. A)) at § 7.4; and November 8, 2006


1
    http://www.adrbnymellon.com/dr_why.jsp. (“Why Choose BNY Mellon?”).


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Amended and Restated Deposit Agreement for CRH Public Limited Company (“CRH

Agreement”) (attached as Exh. 18 (with accompanying Exh. A)) at § 7.4.

       6.     Under the Contract Documents governing the ADRs in which Plaintiffs and the

Class invested during the Class Period (the “Class ADRs”), which all contained substantially

similar language, BNYM was obligated to ADR Holders to act “without negligence or bad

faith.” See, e.g., Exh. 1 (Toyota Agreement) at § 5.03 (Obligations of the Depositary, the

Custodian and the Company) & Exh. A, § 18 (Liability of the Company and Depositary); Exh. 2

(HSBC Agreement) at § 5.03 & Exh. A, § 18; Exh. 16 (2005 National Grid Agreement) at § 5.3

& Exh. A, § 18; Exh. 17 (2013 National Grid Agreement) at § 5.3 & Exh. A § 18. The Contract

Documents further obligated BNYM to perform all conversions of Cash Distributions from

foreign currency into USD “as promptly as practicable” and “on a reasonable basis.” See, e.g.,

Exh. 1 (Toyota Agreement), §§ 4.01, 4.05; Exh. 2 (HSBC Agreement), §§ 4.01, 4.05; Exh. 16

(2005 National Grid Agreement) at § 4.5; Exh. 17 (2013 National Grid Agreement) at § 4.5; and

Exh. 18 (CRH Agreement) at § 4.6. Finally, the Contract Documents expressly enumerate

BNYM’s permissible fees and charges as the depositary. As related to ADR FX Conversions,

specifically, the Contract Documents provide that BNYM is permitted only to recoup its actual

“expenses.” See, e.g., Exh. 1 (Toyota Agreement) at § 5.09 & Exh. A, § 7; Exh. 2 (HSBC

Agreement) at § 5.09 & Exh. A, § 7; Exh. 16 (2005 National Grid Agreement) at § 5.9 & Exh.

A, § 7; Exh. 18 (CRH Agreement) at § 5.9.

       7.     On information and belief, throughout the Class Period, rather than charging rates

on the foreign currency exchange (“FX”) transactions necessary for the ADR FX Conversions in

good faith and in a manner that reflected a prompt conversion of Cash Distributions into USD,

BNYM utilized the range of FX rates available over a 24-hour (or longer) period (the “Session



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Range”) in order to charge ADR Holders exchange rates that, while within the Session Range,

allowed BNYM to capture a substantial and unauthorized spread between the FX rates charged

and the actual rates available to BNYM at the time of the transactions. In so doing, BNYM

breached its contractual obligations to Plaintiffs and the Class to, inter alia, perform its duties

without negligence or bad faith when converting Cash Distributions by foreign companies that

were owed to ADR Holders into USD. As a result of its practice, BNYM improperly skimmed

millions of dollars from distributions owed and payable to Plaintiffs and the Class.

           8.       In a recently settled action, BNYM admitted that its Global Markets FX desks

knowingly charged the Bank’s custodial clients unfavorable rates on FX trades done pursuant to

“standing instructions” (or “SI”). As part of the January 17, 2012 Stipulation and Order of

Partial Settlement and Dismissal (the “January 17, 2012 Stipulation”) related to the Department

of Justice’s lawsuit (the “DOJ Action”), BNYM publicly admitted for the first time that the Bank

“assigns prices to Standing Instruction Service transactions that are at or near the high end of

the range of prices reported in the interbank market for currency purchases for the relevant

pricing cycle, and at or near the low end of range of prices reported in the interbank market for

currency sales for the relevant pricing cycle.”2 In other words, as the Bank would later admit as

part of a final settlement of the DOJ Action, “the Bank gave SI clients prices that were at or

near the worst interbank rates reported during the trading day or session.” BNYM also agreed

to pay $714 million to resolve the DOJ Action and other actions relating to the Bank’s SI FX

practices (collectively, the “SI FX Litigation”). As further described below, the fact that ADR

FX Conversions were priced in a similar manner to SI FX transactions remained hidden until

only very recently.

2
    Unless otherwise indicated, all emphases in this Complaint have been added.



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       9.      By consistently assigning SI FX clients near the worst rate of the day, the Bank

was able to reap unauthorized profits believed to be in the hundreds of millions of dollars.

Recent disclosures by the Bank indicate that it used virtually the same SI FX practices to price

ADR FX Conversions, contrary to its contractual obligations to Plaintiffs and the Class.

       10.     On October 1, 2015, just one week after final approval was granted to the

settlement of class-action proceedings against BNYM for its SI FX practices, BNYM published a

“Depositary Receipts Foreign Exchange Pricing Disclosure” (the “Pricing Disclosure”) (attached

as Exh. 19) on its ADR-devoted webpage, in which the Bank publicly stated for the first time

that, notwithstanding whatever language was contained in its ADR Agreements, the Bank made

“no representations, warranties or guarantees as to whether the price or the pricing

methodology [it] used to price a [ADR FX Conversion] yields a fair market price.”

Specifically, BNYM stated it consistently priced ADR FX Conversions so as to take advantage

of the range of market rates available during a particular 24-hour (or in some cases longer)

trading session (regardless of when, during that session, the trade was actually priced), with the

spreads on such trades accruing to the Bank as “revenue.” In other words, on that day the Bank

disclosed—for the first time—that it used virtually the same “Session Range” approach to

pricing ADR FX Conversions as it used for SI FX transactions.

       11.     Throughout the Class Period, BNYM breached its contractual duties owed to

Plaintiffs and other Class members by assigning unfavorable rates on ADR FX Conversions to

ADR Holders to earn profits at their expense. Plaintiffs therefore bring this action on behalf of

themselves and a Class of similarly situated ADR Holders for injunctive relief and for damages

stemming from the Bank’s breach of contract.




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II.    JURISDICTION AND VENUE

       12.     This Court has subject-matter jurisdiction over this action pursuant to the Class

Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2), because: (i) this is a class action, including

claims asserted on behalf of a nationwide class, filed under Rule 23 of the Federal Rules of Civil

Procedure; (ii) there are thousands of potential Class members; (iii) the aggregate amount in

controversy exceeds the jurisdictional amount of $5,000,000.00, exclusive of interest and costs;

and (iv) BNYM is a citizen of a State different from that of Plaintiffs and the proposed Class.

       13.     Venue is proper in this forum pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2)

because: (i) pursuant to 28 U.S.C. § 1391(c)(2), BNYM is deemed to reside in this District,

which has personal jurisdiction over BNYM with respect to this action; and (ii) a substantial part

of the acts or events giving rise to the claims alleged in this Complaint occurred in this District.

III.   PARTIES

       A.      Plaintiffs

       14.     Plaintiffs Annie L. Normand resides in Virginia. During the Class Period, Ms.

Normand was an ADR Holder with respect to the following entities for which BNYM served as

the depositary: HSBC Holdings Plc (“HSBC”); Swire Pacific Ltd.; and Macquarie Group Ltd.

       15.     Plaintiff Don A. Carofano resides in California. During the Class Period, Mr.

Carofano was an ADR Holder in the following entities for which BNYM served as the

depositary: American Movil (Series L); Banco Bradesco SA; China Mobile Ltd;

GlaxoSmithKline PLC (“GSK”); HSBC; Toyota Motor Corporation (“Toyota”); and Vodafone

Group Plc.




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       16.    Plaintiff David Feige resides in California. During the Class Period, Mr. Feige

was an ADR Holder in the following entities for which BNYM served as the depositary: Toyota;

Royal Dutch Shell (A Shares); NTT DoCoMo; Lloyds Banking Group; and GSK.

       17.    Plaintiff Local 138 is an employee benefit plan. Local 138 has its principal place

of business at 137 Gazza Blvd., Farmingdale, NY 11735. Local 138 provides retirement and

survivor benefits to approximately 1,900 members. During the Class Period, Local 138 was an

ADR Holder in multiple entities for which BNYM served as the depositary, including GSK,

National Grid PLC (“National Grid”), and CRH Public Limited Company (“CRH”).

       18.    Plaintiffs and the Class members (defined below) purchased and held ADRs for

which BNYM acted as the depositary bank and for which BNYM executed ADR FX

Conversions attendant to Cash Distributions issued by foreign companies.

       19.    During the Class Period, Plaintiffs and the Class received Cash Distributions for

which BNYM performed ADR FX Conversions. Plaintiffs and the Class were thus damaged by

BNYM’s misconduct as alleged in this Complaint.

       B.     Defendant

       20.    Defendant The Bank of New York Mellon, a New York state chartered bank, is

one of two principal bank subsidiaries of BNY Mellon Corp., a Delaware corporation with

headquarters at One Wall Street, New York, NY 10286. BNY Mellon Corp. is the product of the

July 1, 2007 merger (the “Merger”) of The Bank of New York Company, Inc. and Mellon

Financial Corporation (“Mellon Financial”). BNYM is the successor entity (post-Merger) to The

Bank of New York (“BNY”). According to the BNY Mellon Corp. 2010 10-K (at 4), BNY

Mellon “houses [BNY Mellon Corp.’s] institutional businesses, including Asset Servicing, Issuer

Services, Treasury Services, Broker-Dealer and Advisor Services, and the bank-advised business



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of Asset Management.”3           According to its website, BNYM acts as the globe’s “leading

depositary bank, managing more sponsored depositary receipt programs than all other depositary

banks combined.” The Bank further states it is the depositary for more than 1,200 sponsored

programs from over 65 countries, representing 58% of the global market.

        21.      BNYM is the successor entity of BNY. As a result, any ADR Agreement that was

entered into by BNY (and was not otherwise assigned or amended to substitute a different entity

as the depositary) is binding on BNYM and is covered by this Complaint.

        IV.      FACTUAL ALLEGATIONS

        22.      BNYM markets ADRs to U.S. investors as a “convenient and cost effective”4 way

to own shares of foreign companies. Further, the Bank states that ADRs provide a mechanism for

U.S. investors to avoid “impediments relating to settlements, currency conversions, custody

services, information flow, unfamiliar market practices, tax conventions, and internal investment

policies.”5    BNYM claims that these impediments “may discourage U.S. investors from

venturing outside their local market.”6

        23.      BNYM has acted as a depositary bank to a large number of foreign companies

and has issued ADRs to pension funds, institutional investors and many other parties. The ADR

securities, in turn, trade on major U.S. stock exchanges like the New York Stock Exchange

(“NYSE”) and NASDAQ as well as over-the-counter (“OTC”) markets.

        24.      Although ADRs are bought and sold in USD, from time to time, the underlying

foreign companies may issue dividends or make other payments (e.g., consideration provided


3
   The second of BNY Mellon Corp.’s two principal banks, BNY Mellon, National Association (“BNY Mellon,
N.A.”), is described by BNY Mellon Corp. as housing its “Wealth Management business,” and is not at issue in this
case. Id.
4
  http://www.adrbnymellon.com/dr_edu_basics_and_benefits.jsp
5
  Id.
6
  Id.


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during a merger or distributing proceeds of a sale) in foreign currency to their shareholders (as

defined above, “Cash Distributions”). BNYM, as the depositary bank, is required to convert the

Cash Distributions into USD and distribute the funds to the corresponding ADR Holders (as

defined above, “ADR FX Conversions”).         ADR FX Conversions take place through a FX

transaction, whereby foreign currency is exchanged for USD at a particular rate available in the

currency market.

       A.     BNYM Was Required to Act in Good Faith in Exercising Its
              Depositary Duties to ADR Holders, to Promptly Execute ADR FX
              Conversions at Commercially Reasonable Rates for ADR Holders,
              and to Recoup Only its Expenses in connection with Such Activity.

       25.    For each ADR represented by a foreign security, BNYM entered into ADR

Agreements that set forth the rights and obligations of BNYM, the foreign companies, and the

ADR Holders. Upon purchasing ADRs, ADR Holders become parties to the ADR Agreements.

See, e.g., Exh. 1 (Toyota Agreement) (cover page stating that the deposit agreement is between

Toyota, BNY, and “owners and beneficial owners” of ADRs (i.e., ADR Holders)); id. at § 7.04;

see also Exh. 2, (HSBC Agreement) (cover page stating that the deposit agreement is between

HSBC, BNY, and “holders and beneficial owners” of ADRs); id. at § 7.05; Exh. 16, (2005

National Grid Agreement) (cover page which states that the deposit agreement is between

National Grid, BNY, and “owners and beneficial owners” of ADRs (i.e., ADR Holders)); id. at §

7.4. The ADRs themselves are annexed to and incorporated into the ADR Agreements (as

Exhibit A) and contain additional terms that are incorporated by reference into the terms of the

respective ADR Agreements. See, e.g., Exh. 1 (Exh. A to Toyota Agreement (form of ADR));




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Exh. 2 (Exh. A to HSBC Agreement (same)); Exh. 16 (Exh. A to 2005 National Grid Agreement

(same)).7

        26.    BNYM serves or has served as the depositary for more than 1200 ADRs that

traded in the U.S. during the Class Period, of which at least 600 paid dividends to ADR Holders

in USD at one time or another. On information and belief, the pertinent language governing

BNYM’s obligations with respect to ADR FX Conversions in the Contract Documents is

substantially similar for each of these dividend-paying Class ADRs. See, e.g., Exhs. 1-18; Exh.

20 (chart listing relevant provisions of each ADR Agreement).

        27.    The ADR Agreements contain choice-of-law clauses providing that the

Agreements and the associated ADRs are governed by New York law. See, e.g., Exhs. 1, 2, 8-10

at § 7.06; Exhs. 3-4, 6-7, 16-18 at § 7.6; Exhs. 5, 15 at § 7.7; Exhs. 11, 14 at § 7.8; Exhs. 12, 13

at § 7.08.

        28.    The Contract Documents require BNYM to distribute to each ADR Holder, in

proportion to the number of deposited securities that correspond to the ADR Holder’s ownership

of ADRs, any USD resulting from Cash Distributions by the foreign corporation. See, e.g., Exhs.

1-2, 8-10, 12-13 at § 4.01; Exhs. 3-7, 11, 14-17 at § 4.1; Exh. 18 at § 4.2. In connection with an

ADR FX Conversion, BNYM assumes custody and control over the Cash Distribution for the

benefit of the ADR Holders, conducts ADR FX Conversions, and allocates the Cash Distribution

among the ADR Holders in proportion to their ownership of the ADRs. See, e.g., Exhs. 1-2, 8-

10, 12-13 at §§ 4.01, 4.05; Exhs. 3-7, 11, 14-17 at §§ 4.1, 4.5; and Exh. 18 at §§ 4.2, 4.6.




7
 As defined above, the ADR Agreements and the ADRs are collectively referred to herein as the “Contract
Documents.”



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       29.     BNYM had an express obligation to execute ADR FX Conversions under the

Contract Documents. Pursuant to the Contract Documents, whenever BNYM received foreign

currency by way of dividends or other distributions, or received the net proceeds from the sale of

securities, property, or rights, BNYM was obligated to “as promptly as practicable convert or

cause to be converted such dividend or distribution into Dollars” and “promptly distribute the

Dollars thereby received (net of the fees, expenses and charges of the Depositary as provided in

Section 5.09) to Holders of Receipts,” or otherwise was obligated to perform the conversion “on

a reasonable basis” and “distribute such amount to the Holders of Receipts entitled thereto . . . .”

See, e.g., Exhs. 1-2, 8-10, 12-13 at §§ 4.01, 4.05; Exhs. 3-7, 11, 14-17 at §§ 4.1, 4.5; Exh. 18 at

§§ 4.2, 4.6. BNYM thus had an express obligation to execute ADR FX Conversions under the

Contract Documents.

       30.     The Contract Documents also specifically enumerate the “fees, reasonable

expenses and out-of-pocket charges” BNYM may charge under the ADR Agreements. See, e.g.,

Exhs. 1-2, 8-10, 12-13 at § 5.09; Exhs. 3-7, 11, 14-18 at § 5.9 (substantially similar language).

As relevant here, the Contract Documents provide only that BNYM may charge “such expenses

as are incurred by the Depositary in the conversion of foreign currency.” See, e.g., Exhs. 1-2, 8-

10, 12-13 at § 5.09(4), (5) or (d); Exhs. 3-7, 11, 14-18 at § 5.9(4) or (5).

       31.     The Contract Documents further obligated BNYM to perform its duties “without

negligence or bad faith,” or otherwise in “good faith.” See, e.g., Exhs. 1-2, 8-10, 12-13 at §

5.03; Exhs. 3-7, 11, 14-18 at § 5.3 and/or Exh. A, § 18. In other words, the Bank was obligated

to act with good faith, honesty and the observance of reasonable commercial standards of fair

dealing.




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        32.    In its role as a depositary bank in connection with the Class ADRs, BNYM held

the underlying securities and associated Cash Distributions on behalf of Plaintiffs and the Class.

Further, BNYM controlled all aspects of FX trades relating to the conversion of Cash

Distributions—including the cost, date, and time of the trade.

        33.    Thus, pursuant to the Contract Documents, and at all relevant times, BNYM was

required to convert Cash Distributions into USD for the benefit of ADR Holders such as

Plaintiffs and other Class members. At no time did Plaintiffs or other Class members authorize

BNYM to charge unreasonable FX rates in connection with converting Cash Distributions into

USD.

        34.    In addition, BNYM is subject to an implied covenant of good faith and fair

dealing under the Contract Documents, which obligated the Bank to execute ADR FX

Conversions in good faith and in accordance with reasonable commercial standards of fair

dealing.

        35.    Plaintiffs and other Class members performed their duties under the Contract

Documents.

        B.     BNYM Overcharged Plaintiffs and the Class for ADR FX
               Conversions, in Violation of the Contract Documents.

        36.    Contrary to the obligations expressly or impliedly contained in the Contract

Documents, and as further detailed below, BNYM took unauthorized spreads on ADR FX

Conversions from Plaintiffs and the Class that were far in excess of the Bank’s actual expenses

incurred in executing ADR FX Conversions, thereby reaping improper gains at the direct

expense of Plaintiffs and the Class.

        37.    On October 1, 2015, in a posting on its ADR website entitled “Depositary

Receipts Foreign Exchange Pricing Disclosure,” (as defined above, the “Pricing Disclosure,”


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attached hereto as Exh. 19) the Bank revealed—for the first time—that it employed similar

pricing practices when doing ADR FX Conversions as it employed when doing SI FX trades.8

         38.      This revelation was in stark contrast to the obligations set forth in the Contract

Documents during the Class Period, since it (for the first time) indicated that the Bank (in the

same manner in which it handled SI FX trades) exploited market fluctuations to assign

disadvantageous FX rates (from the ADR Holder’s perspective) to ADR FX Conversions at or

near the extreme range of the trading period in order to line its own pockets. Just as with SI FX

trades, BNYM profited from these unreasonable and grossly excessive FX conversion rates by

keeping the spread between the rate assigned to the client and the rate the Bank actually received

when executing an ADR FX Conversion.

         39.      In the January 17, 2012 Stipulation (referenced above), BNYM publicly

acknowledged for the first time, as related to SI FX trades, that:

         [U]nless BNY Mellon and its Standing Instruction Service client agree to a
         different pricing arrangement, BNY Mellon assigns prices to Standing Instruction
         Service transactions that are at or near the high end of the range of prices
         reported in the interbank market for currency purchases for the relevant pricing
         cycle, and at or near the low end of range of prices reported in the interbank
         market for currency sales for the relevant pricing cycle.

         40.      And in a Stipulation and Order of Settlement and Dismissal entered on April 23,

2015 in the DOJ Action (the “April 23, 2015 Stipulation”), BNYM admitted the following (also

as related to SI FX trades):




8
  The Pricing Disclosure, in addition to being attached as Exh. 19, can be viewed at the following web address:
http://www.adrbnymellon.com/dr_pub_detail.jsp?linkNo=43451&areaId=6. This web address was obtained by way
of a Google search, using the exact title of the Pricing Disclosure. Curiously, as of the date of filing of the initial
complaint in this action, the Pricing Disclosure appeared not to be readily available by navigating directly through
the Bank’s ADR website. If one navigated to the suggested directory on the Bank’s ADR website (Home > DR
University Home > Market Highlights > Publications for DR Issuers) by going through the Bank’s ADR website
rather than Google, the Pricing Disclosure was not visible.


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      (i)     “Throughout a trading day or session (which could be as long as 24 hours), as

      each custodial client’s account generated FX transactions to be executed pursuant to SIs,

      the Bank’s practice was to aggregate those FX transactions for all SI clients and group

      them by currency pair. Near the end of the trading day or session, the Bank priced those

      SI FX trade requests it had received throughout that day or session.”

      (ii)    “To determine the price for each SI FX transaction for most currencies, the Bank

      examined the range of reported interbank rates from the trading day or session and

      assigned the rate on SI trades as follows: if the client was purchasing foreign currency,

      the client received a price at or close to the highest reported interbank rate for that day or

      session (at or near the least favorable interbank price for the client reported during the

      trading day or session), and if the client was selling foreign currency, the client received a

      price at or close to the lowest reported interbank rate of the day or session (also at or near

      the least favorable interbank price for the client reported during the trading day or

      session).”

      (iii)   “Because SI clients received pricing at or near the high end of the reported

      interbank range for their currency purchases and at or near the low end of the reported

      interbank range for their sales, the Bank was generally buying low from, and selling high

      to, its own clients. The Bank recorded the difference or ‘spread’ between the rates it gave

      clients and the interbank market price at the time the SI transactions were priced as ‘sales

      margin.’”

      41.     BNYM’s actions in connection with ADR FX Conversions (described above)

violated the Contract Documents’ requirements that BNYM perform ADR FX Conversions

“without negligence or bad faith,” and to execute ADR FX Conversions “as promptly as



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practicable.” Further, with BNYM’s improper FX practices, ADR Holders were charged

amounts far exceeding the Bank’s actual expenses incurred for ADR FX Conversions. As a

result of such violations, BNYM garnered and continues to garner significant, unauthorized

profits at the expense of Plaintiffs and other Class members.

       42.     Upon information and belief, BNYM earned similar revenues and profits since at

least January 1, 1997 to the present, meaning BNYM reaped significant, unauthorized revenue

throughout the Class Period.

       C.      BNYM Continues to Charge ADR Holders Impermissible FX Fees.

       43.     Based on information and belief, BNYM continues to charge and retain a spread

on the conversion of Cash Distributions for ADR Holders in breach of the Contract Documents.

       44.     BNYM’s continued collection of FX conversion fees that are not permitted under

the Contract Documents (and that are unrelated to its reasonable expenses) is a violation of its

contractual and implied duties to Plaintiffs and Class members.

V.     CLASS ACTION ALLEGATIONS

       45.     This action is brought, and may properly be maintained, as a class action pursuant

to Rule 23(a) as well as Rule 23(b)(2) and/or 23(b)(3) of the Federal Rules of Civil Procedure.

This action is brought pursuant to Rule 23(b)(2) for injunctive or declaratory relief and/or

Rule 23(b)(3) for money damages.

       46.     Plaintiffs asserts claims for (i) breach of contract, (ii) breach of the implied

covenant of good faith and fair dealing (in the alternative to (i)), and (iii) conversion (in the

alternative to (i) and (ii)) on behalf of the following Class:

       All persons or entities who, from January 1, 1997 through the present (the “Class
       Period”), were holders of American depositary receipts for which BNYM served
       as the depositary bank and converted dividends or other cash distributions into
       USD.


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        47.      Excluded from the Class9 are BNYM and its officers, directors, legal

representatives, heirs, successors, corporate parents, subsidiaries, and assigns.

        48.      The members of the Class are so numerous that joinder of all members

individually, in one action or otherwise, is impracticable. Plaintiffs believe there are thousands

of Class members.

        49.      BNYM continues to breach its contractual and implied duties to Plaintiffs and

Class members on grounds that apply generally to the Class so that final injunctive relief is

appropriate with respect to the Class as a whole.

        50.      There are numerous questions of law and fact common to Plaintiffs and the Class,

including:

                 (a)      whether BNYM owed contractual duties to Plaintiffs and the Class;

                 (b)      whether the Bank violated the contractual obligations owed to Plaintiffs
                          and the Class by charging FX rates that bore little or no relation to
                          interbank market rates at the time ADR FX Conversions were executed;

                 (c)      whether the Bank violated the contractual obligations owed to Plaintiffs
                          and the Class to execute ADR FX Conversions “as promptly as
                          practicable,” on a “reasonable” basis, and “without negligence or bad
                          faith”;

                 (d)      whether the Bank breached the contractual obligations owed to Plaintiffs
                          and the Class by charging fees for executing ADR FX Conversions far in
                          excess of their actual “expenses”;

                 (e)      whether the Bank breached the covenant of good faith and fair dealing
                          implied in the Contract Documents by charging FX rates that were not
                          reasonable, did not reflect interbank trading rates at the time of execution
                          or the FX rate BNYM actually received, or were in excess of BNYM’s
                          reasonable expenses;

9
  Unless otherwise indicated, references in this Complaint to the “Class” encompass the Class defined above and
members of any subclasses. Plaintiffs reserve the right to refine this Class definition and add any subclasses after
discovery and upon moving for class certification. The connective “and/or” in any class definition below indicates
that certain claims are pleaded in the alternative.



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               (f)      whether the Bank unlawfully converted assets belonging to Plaintiffs and
                        the Class; and

               (g)      whether Plaintiffs and the Class suffered monetary damages as a result of
                        BNYM’s improper actions and, if so, the proper measure of those
                        damages.

       51.     Plaintiffs are members of the Class, and Plaintiffs’ claims are typical of the claims

of other members of the Class.

       52.     Plaintiffs are willing and prepared to serve the proposed Class in a representative

capacity, with all of the obligations such representation entails.        Plaintiffs will fairly and

adequately protect the interests of the Class and have no interests adverse to the interests of other

members of the Class.

       53.     Plaintiffs have engaged the services of the undersigned counsel, who are

experienced in complex class-action litigation, will adequately prosecute this action, and will

assert and protect the rights of Plaintiffs and absent members of the Class.

       54.     Questions of law and fact common to the Class predominate over any questions

affecting only individual members, in satisfaction of Rule 23(b)(3), and each such common

question warrants class certification under Rule 23(c)(4).

       55.     A class action is superior to other available methods for the adjudication of this

controversy. Individualized litigation would increase the delay and expense to all parties and the

court system given the complex legal and factual issues of this case, and judicial determination

of the common legal and factual issues essential to this case would be far more fair, efficient, and

economical as a class action maintained in this forum than in piecemeal individual proceedings.

       56.     Plaintiffs know of no difficulty that will be encountered in the management of this

litigation that would preclude its maintenance as a class action. Compared to individualized



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actions, a class action presents far fewer management difficulties and provides the benefits of

single adjudication, economies of scale, and comprehensive supervision by a single court.

       57.     BNYM has acted, or refused to act, on grounds generally applicable to the Class,

thereby rendering final and injunctive relief with respect to the Class appropriate.

VI.    TIMELINESS OF PLAINTIFFS’ AND OTHER CLASS MEMBERS’
       CLAIMS

       A.      The Statutes of Limitations for Plaintiffs’ and Other Class Members’ Claims
               Were Tolled as a Result of BNYM’s Affirmative Acts of Concealment.

       58.     The applicable statutes of limitations for each of the claims for relief asserted in

this Complaint were tolled by BNYM’s affirmative acts of concealment, as described below.

       59.     BNYM’s notices to ADR Holders (“ADR Notices”) generally only reported FX

conversion rates and did not include the date or time when the ADR FX Conversions were

executed. The ADR Notices thus prevented ADR Holders from discovering that the FX rates

they were being charged were extremely unfavorable.

       60.     BNYM is in sole possession of records accurately detailing its ADR FX

Conversion FX trades and the rates the Bank actually obtained when executing the FX

transactions, as well as records accurately detailing when proceeds owed to ADR Holders were

actually deposited and thus when they should have been priced.

       61.     BNYM thereby prevented Plaintiffs and other Class members from detecting its

improper practices relating to ADR FX Conversions. Plaintiffs accordingly could not, in the

exercise of reasonable diligence, have discovered any of the claims for relief pleaded in this

Complaint against BNYM prior to BNYM’s recent acknowledgement of its FX pricing practices

in both the SI FX Litigation and the Pricing Disclosure.




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       62.     Specifically, Plaintiffs were not aware, and BNYM did not disclose, that in

pricing ADR FX Conversions:

               •   the costs of the reported FX transactions executed by BNYM were not the
                   actual FX costs it incurred and were not consistent with the actual market FX
                   rates at the time Plaintiffs’ and other Class members’ trades were executed;

               •   BNYM retained the difference between the actual FX rates it obtained to
                   execute a trade and the less favorable (to ADR Holders) FX rates, selected
                   with as much as 24 to 48 hours’ hindsight, that it charged Plaintiffs and other
                   Class members; and

               •   BNYM took hidden fees or profits from the FX transactions it executed,
                   including markups or markdowns, when executing FX trades on ADR FX
                   Conversions.

       63.     Indeed, BNYM admitted in the April 23, 2015 Stipulation (referenced above) that

it “generally did not disclose its SI FX pricing methodology . . . to its custodial clients or their

investment managers,” and that it “was aware that many clients did not fully understand the

Bank’s pricing methodology for SI transactions.”

       64.     Likewise, internal BNYM emails made public show that BNYM attributed much

of the success of the Bank’s FX business to its lack of transparency. In an email dated July 21,

2010, Robert Near, Managing Director of BNYM Global Markets stated:

       While difficult to quantify, and only having a ‘couple’ of data points, I think
       BNYM has been more successful in maintaining spreads in the SI [Standing
       Instruction] space compared to these peers [State Street and Northern Trust].
       Another way to say this is BNYM is ‘late’ to the transparency space. We are
       hearing from our clients that our competitors are offering time stamping and
       fixed spreads across all currencies.

       65.     BNYM’s practices affected all ADR Holders whose ADR FX Conversions

BNYM executed during the Class Period.




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VII.    CLAIMS FOR RELIEF

                                          COUNT I
                                      Breach of Contract

        66.    Plaintiffs repeat and incorporate by reference each of the foregoing allegations of

this Complaint.   This claim for breach of contract is asserted by Plaintiffs on behalf of

themselves and the Class against BNYM.

        67.    Plaintiffs and other Class members purchased ADRs and accepted the contractual

terms offered by BNYM in the Contract Documents by agreeing to become a party to the ADR

Agreement corresponding to each ADR that was purchased. The ADRs and their terms were

annexed to and incorporated into the ADR Agreements.

        68.    The Contract Documents make up a valid and enforceable contract. BNYM,

Plaintiffs, and other Class members are parties to, and are bound by the terms and provisions of,

the Contract Documents, and the Contract Documents are substantially uniform across all Class

ADRs and Class members.

        69.    The Contract Documents require BNYM to convert foreign currency received by

way of dividends or other distributions “as promptly as practicable” and “without negligence or

bad faith,” and to transfer the converted funds to ADR Holders. Additionally, the Contract

Documents provide that BNYM may recoup only its “expenses” in executing ADR FX

Conversions.

        70.    The Contract Documents are governed by New York law.

        71.    The Bank breached its contractual duties imposed by the Contract Documents by

intentionally applying prices to FX trades in connection with ADR FX Conversions that were

grossly unfavorable to Plaintiffs and the Class. Rather than pricing and distributing ADR FX

Conversions “as promptly as practicable,” BNYM waited one to two days to price the FX trades


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using unreasonable rates at or near the extreme of the trading range so as to maximize the Bank’s

profit and diminish the amount of converted money distributed to Plaintiffs and other Class

members, as ADR Holders.          BNYM charged Plaintiffs and the Class rates that were

unreasonably selected in hindsight to extract maximum profits for BNYM at Plaintiffs’ and the

Class’s expense. BNYM’s failure to apply the prevailing FX rates at a practicably prompt time

after the Bank’s receipt of the foreign currency distributed by ADR depositors in connection with

the Class ADRs was commercially unreasonable and breached the terms of the Contract

Documents.

          72.   The Bank also breached its contracts with Plaintiffs and the Class by charging

amounts far exceeding the Bank’s expenses incurred in connection with ADR FX Conversions.

          73.   Plaintiffs and the Class performed all, or substantially all, of the obligations

imposed on them under their contracts with BNYM.

          74.   Plaintiffs and the Class have been and continue to be damaged as a direct and

proximate result of BNYM’s breaches of contract by being denied the full value of dividends or

other distributions owed to them under the terms of the contracts. BNYM’s overcharges for

ADR FX Conversions constitute costs or losses that Plaintiffs and the Class otherwise would not

have incurred, for which Plaintiffs and the Class seek damages in an amount to be established at

trial.

                                        COUNT II
                 Breach of Implied Covenant of Good Faith and Fair Dealing

          75.   Plaintiffs repeat and incorporate each and every preceding paragraph stated

above. This claim is asserted in the alternative to Count I by Plaintiffs on behalf of themselves

and the Class against BNYM.




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         76.       BNYM is subject to an implied covenant of good faith and fair dealing under the

Contract Documents. Under that implied covenant, at all times, BNYM was obligated to execute

ADR FX Conversions with good faith and in accordance with reasonable commercial standards

of fair dealing.

         77.       BNYM breached its implied covenant of good faith and fair dealing by

improperly assigning FX rates to ADR FX Conversions in a manner intended to deprive

Plaintiffs and other Class members of the benefits of the Contract Documents—specifically, their

right to have ADR FX Conversions priced “as promptly as practicable” and “without negligence

or bad faith.”

         78.       BNYM further breached its implied covenant of good faith and fair dealing by

charging amounts far exceeding the Bank’s expenses incurred in connection with ADR FX

Conversions.

         79.       BNYM acted deliberately to deprive Plaintiffs and other Class members of their

right to receive ADR FX Conversion distributions at reasonable FX rates. The Bank charged

unfavorable rates to Plaintiffs and the Class in order to pocket the spread and reap profits at their

expense.

         80.       As a direct and proximate result of BNYM’s breach of its implied covenant of

good faith and fair dealing, Plaintiffs and other Class members have suffered and continue to

suffer injury and damages, which they are entitled to recover from the Bank.

                                             COUNT III
                                             Conversion

         81.       Plaintiffs repeat and incorporate each and every preceding paragraph stated

above.




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        82.     This claim for relief is asserted in the alternative to Counts I and II by Plaintiffs

on behalf of themselves and the Class against BNYM.

        83.     Prior to the time BNYM distributed foreign currency or its equivalent in USD,

which was deposited by BNYM for Plaintiffs and the Class, Plaintiffs and the Class entrusted to

the Bank specific and identifiable funds, in the form of foreign currency BNYM received on

behalf of Plaintiffs and the Class pursuant to the Contract Documents.

        84.     As ADR Holders, Plaintiffs and the Class had ownership or the superior right to

possession of the dividends or other distributions they entrusted to BNYM to hold and convert

into USD and then distribute to Plaintiffs and the Class. Under the Contract Documents, the

Bank only had the right to charge Plaintiffs and the Class for the reasonable expenses associated

with conducting the FX trades in connection with ADR FX Conversions. Instead, the Bank

charged Plaintiffs and the Class far more, in a manner designed to maximize the revenue

potential offered by the range of a 24- to 48-hour period.

        85.     By their improper FX practices related to ADR FX Conversions discussed above,

BNYM exercised wrongful control, dominion over, or deprivation of Plaintiffs’ and the Class’s

funds in derogation or denial of Plaintiffs’ and the Class’s rights to the full value of their

dividends or other distributions reasonably converted into USD, without the consent of Plaintiffs

or the Class and without lawful justification.

        86.     BNYM’s wrongful conduct constituted a conversion of Plaintiffs’ and the Class’s

property.

        87.     Plaintiffs and the Class have been and continue to be damaged as a result of

BNYM’s conduct and are entitled to recover their damages from BNYM in an amount to be

established at trial.



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VIII. PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment against BNYM, and request as follows:

       (a)    Certification of this action as a class action pursuant to Rule 23 of the Federal

              Rules of Civil Procedure, declaring Plaintiffs as Class representatives and

              Plaintiffs’ counsel as counsel for the Class;

       (b)    An Order enjoining BNYM from any further breach of the Contract Documents

              and/or its implied duties;

       (c)    Compensatory, consequential, and general damages in an amount to be

              determined at trial;

       (d)    Disgorgement or restitution of all earnings, profits, compensation, and benefits

              received by BNYM as a result of its unlawful acts and practices, and the

              imposition of an equitable constructive trust over all such amounts for the benefit

              of the Class;

       (e)    Costs and disbursements of the action;

       (f)    Pre- and post-judgment interest;

       (g)    Reasonable attorneys’ fees and costs; and

       (h)    Such other and further relief as this Court may deem just and proper.

IX.    JURY TRIAL DEMAND

       Plaintiffs hereby demand a jury trial on all issues so triable.

Dated: October 26, 2016                          Respectfully submitted,

KESSLER TOPAZ MELTZER & CHECK                    LIEFF CABRASER HEIMANN &
LLP                                              BERNSTEIN, LLP

By: /s/ Sharan Nirmul                            By: /s/ Daniel P. Chiplock
       Sharan Nirmul                                    Daniel P. Chiplock



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Operating Engineers Local 138 Pension
Trust Fund




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                                  Exhibit Index

EXHIBIT          DATE                                     TITLE
                                  Toyota Motor Corp. & BNY as Depositary & Owners and
 Exh. 1        9/27/1999          Beneficial Owners of American Depositary Receipts –
                                  Deposit Agreement

               3/22/2001          HSBC Holdings & BNY as Depositary & Holders and
                                  Beneficial Owners of American Depositary Receipts -
             Amended and
 Exh. 2                           Amended and Restated Deposit Agreement
           Restated as of Mar.
           27, 2001 & Mar. 28
                  2003

                                  SWIRE Pacific Limited & BNYM as Depositary & Owners
 Exh. 3         7/14/1994         and Holders of American Depositary Shares - Class B
                                  Deposit Agreement

                                  Macquarie Bank Limited & BNY as Depositary and
 Exh. 4           2005            Owners and Beneficial Owners of American Depositary
                                  Receipts – Deposit Agreement

                                  América Móvil, S.A. de C.V. & BNY as Depositary &
 Exh. 5           2005            Owners of American Depositary Receipts – Amended &
                                  Restated Deposit Agreement (L Shares)

               10/23/1997         China Mobile Limited (Hong Kong) & BNY as Depositary
                                  and Owners and Beneficial Owners of American
 Exh. 6    Amended & Restated
                                  Depositary Receipts – Deposit Agreement
           as of July 5, 2000 &
              May 30, 2006

               10/12/1988         Vodafone Group PLC & Vodafone Americas Inc. & BNY as
                                  Depositary & Owners and Beneficial Owners of American
              Amended and
                                  Depositary Receipts – Deposit Agreement
            Restated as of Dec.
 Exh. 7     26, 1989, Sept. 16,
           1991, June 30, 1999,
            Sept. 29, 1999, and
                   2006

                                  Vodafone Americas Inc., & BNY as Depositary & Owners
 Exh. 8           2015            and Beneficial Owners of American Depositary Shares –
                                  Amended and Restated Deposit Agreement

                                  Glaxosmithkline plc & BNY as Depositary and Owners
 Exh. 9           2007            and Holders of American Depositary Shares - Amended
                                  and Restated Deposit Agreement

                                  Glaxosmithkline plc & BNY as Depositary and Owners
 Exh. 10          2015            and Holders of American Depositary Shares - Amended
                                  and Restated Deposit Agreement
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                                  Exhibit Index

EXHIBIT          DATE                                     TITLE
                                  Banco Bradesco S.A. & BNY as Depositary and Owners
 Exh. 11          2009            and Holders of American Depositary Shares - Amended
                                  and Restated Deposit Agreement

                                  Banco Bradesco S.A. & BNY as Depositary and Owners
 Exh. 12          2015            and Holders of American Depositary Shares - Amended
                                  and Restated Deposit Agreement

                                  Lloyds TSB Group PLC & BNY as Depositary and Owners
 Exh. 13          2007            and Beneficial Owners of American Depositary Shares -
                                  Deposit Agreement (Registered – Series)

                                  Royal Dutch Shell plc & BNY as Depositary and Owners
 Exh. 14          2005            and Beneficial Owners of American Depositary Receipts -
                                  Amended and Restated Deposit Agreement (A Shares)

               10/21/1998         NTT Docomo, Inc., & BNYM as Depositary and Owners
                                  and Holders of American Depositary Receipts - Deposit
           Amended & Restated
 Exh. 15                          Agreement
            June 14, 1999; Jan.
            30, 2002; May 21,
             2002; and 2013

                                  National Grid PLC & BNY as Depositary and Owners and
 Exh. 16        8/1/2005          Beneficial Owners of American Depositary Receipts –
                                  Amended and Restated Deposit Agreement

                                  National Grid PLC & BNYM as Depositary and Owners
 Exh. 17          2013            and Holders of American Depositary Shares – Amended
                                  and Restated Deposit Agreement

                                  CRH Public Limited Company and BNY as Depositary
 Exh. 18          2006            and Holders of American Depositary Shares – Amended
                                  and Restated Deposit Agreement

                                  BNY Mellon Depositary Receipts Foreign Exchange
 Exh. 19        10/1/2015
                                  Pricing Disclosure

Exh. 20                           ADR Agreements: Relevant Provisions
